

Judge Cox,

dissenting. I think the action of the board of education upon the allowance of the peremptory writ issued against them, was a substantial compliance with the order of the court, and that they should be dismissed.
On the original hearing of the case, the court was in doubt as to whether in the allowance to Mr. Kuehnert it was intended to embrace all of the salary due him from the passage of the law fixing compensation. But from the return of *97the board and the evidence taken thereunder, I am convinced that it was their intention to so allow him, and that it was a fair compensation, and so understood by the parties, and that the subsequent allowance of one dollar in addition, with the explanation as to their intention in the original allowance, is a sufficient answer to the writ, and shows that the board has acted in good faith to the court and all the parties, and has exercised properly the discretion vested in them by the law.
O. W. Merrill, attorney for the Relator.
L. M. Sadden, ass’t city solicitor, for defendants.
Mem. — The Board of Education having followed the suggestion of the court, and allowed the relator the sum of $50.00 per annum for his services as examiner, and deducted therefrom the amount paid, the application for an attachment was refused.
